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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         PANAMA CITY DIVISION

MGFB PROPERTIES, INC.,
FLORA-BAMA MANAGEMENT,
LLC, and
FLORA-BAMA OLD S.A.L.T.S.,
INC.,                                        Case No. 5:19-cv-257-RH/MJF

       Plaintiffs,

              v.

VIACOMCBS INC., et al.,

       Defendants.


        PLAINTIFFS’ MOTION TO SET ASIDE THE JUDGMENT
                       UNDER RULE 60(b)

    The Supreme Court’s decision in Jack Daniel’s Properties, Inc. v. VIP Prods.

LLC, 599 U.S. 140 (2023) marked a major change in the interplay between

plaintiﬀs’ federal trademark claims and defendants’ First Amendment protections.

Had the Jack Daniel’s decision been issued prior to this Court’s granting summary

judgment to the Defendants in this action, the Court would have very likely denied

summary judgment to Defendants and permitted this case to proceed to trial.

Plaintiﬀs now ask the Court to set aside the judgment and reopen this case.

    The Supreme Court ruled in Jack Daniel’s as follows:

         We hold only that [the threshold First Amendment test derived
         from Rogers v. Grimaldi] is not appropriate when the accused

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         infringer has used a trademark to designate the source of its own
         goods—in other words, has used a trademark as a trademark.
         That kind of use falls within the heartland of trademark law, and
         does not receive special First Amendment protection.

599 U.S. at 145.

    The record is replete with evidence that Defendants used the “Floribama

Shore” mark as a trademark to designate Defendants, and MTV, as the source of

the “MTV Floribama Shore” TV show. Therefore, under Jack Daniel’s,

Defendants are no longer entitled to seek First Amendment protection against

Plaintiﬀs’ trademark infringement claims.

    When it granted summary judgment to the Defendants, this Court made clear

that the decision was based on applying the Rogers v. Grimaldi test. The Court held:

Plaintiﬀs’ “showing would be suﬃcient to withstand summary judgment, were it

not for the necessity to balance the showing against First Amendment interests.”

(ECF No. 188, Order at 19.)

    But the Rogers test no longer controls when the defendant’s infringing use is

done as a source identiﬁer for goods or services—which is the case here.

    Fed. R. Civ. P. 60 permits a court, in extraordinary circumstances, to set aside

past judgments. The Supreme Court’s change in the law is such a circumstance.

Whether analyzed under Rule 60(b)(5) or 60(b)(6), there are good grounds for this




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Court to vacate the judgment in this matter. Plaintiﬀs ask the Court to do so, and

set this case back on the path to trial.

I.   The Supreme Court’s decision was a major change in the governing law.

     The Supreme Court’s decision in Jack Daniel’s marked a signiﬁcant change in

the law, substantially narrowing the circumstances when a defendant could invoke a

First Amendment defense based on Rogers to avoid being otherwise liable for

trademark infringement under the Lanham Act. Indeed, as one commentator

recently observed, “[b]ecause titles [of defendants’ works accused of infringement]

could serve as source identiﬁers, Jack Daniel’s calls into question the scope of their

protection—if any—under Rogers” and noted that “titles have not been receiving

protection [under Rogers] after Jack Daniel’s.” Ex. 1, C. Tucker, Creative Expression

vs. the Lanham Act: Six Months of Cases after Jack Daniel’s, The Intellectual

Property Strategist ( Jan. 19, 2024), available at

https://www.law.com/2024/01/19/creative-expression-vs-the-lanham-act-six-

months-of-cases-after-jack-daniels/.

     The Jack Daniel’s case involved the well-known Tennessee distiller Jack

Daniel’s as plaintiﬀ against the defendant, VIP Products, which made and sold a

line of dog toys called “Silly Squeakers.” 599 U.S. at 148–49. The toys were made

to look like, and parody, several adult beverages, including Jack Daniel’s. Jack

Daniel’s objected VIP Product’s use of an allegedly infringing trademark, “Bad



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Spaniels,” on a dog toy resembling a Jack Daniel’s bottle. VIP Products refused to

stop selling the dog toy, but brought a declaratory judgment action claiming non-

infringement. Jack Daniel’s counterclaimed under the Lanham Act for trademark

infringement. Id. at 150–51.

    VIP Products moved for summary judgment and raised a First Amendment

Defense under Rogers:

         VIP argued that Jack Daniel’s infringement claim failed under a
         threshold test derived from the First Amendment to protect
         “expressive works”—like (VIP said) the Bad Spaniels toy. When
         those works are involved, VIP contended, the so-called Rogers test
         requires dismissal of an infringement claim at the outset unless
         the complainant can show one of two things: that the challenged
         use of a mark “has no artistic relevance to the underlying work”
         or that it “explicitly misleads as to the source or the content of
         the work.” Rogers v. Grimaldi, 875 F.2d 994, 999 (C.A.2 1989)
         (NEWMAN, J.). Because Jack Daniel’s could make neither
         showing, VIP argued, the likelihood-of-confusion issue became
         irrelevant.

599 U.S. at 151.

    The Court considered as its “ﬁrst and more substantial question” whether Jack

Daniel’s “had to satisfy the Rogers threshold test before the case could proceed to

the Lanham Act’s likelihood-of-confusion inquiry.” Id. at 152–53. While the parties

addressed that issue in the “broadest possible way, either attacking or defending

Rogers in all its possible applications,” the Court held “[w]ithout deciding whether

Rogers has merit in other contexts . . . that [Rogers] does not [have merit] when an


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alleged infringer uses a trademark in the way the Lanham Act most cares about: as a

designation of source for the infringer’s own goods.” Id. at 153. While noting that

VIP Products had used the marks to parody or make fun of Jack Daniel’s, the Court

held that because VIP Products also used the Bad Spaniels mark as a trademark to

designate the source of its product, “the infringement claim here rises or falls on

likelihood of confusion” and the Rogers-based First Amendment defense “does not

apply” despite the expressive aspects of the VIP’s product. Id.

    The Supreme Court noted with approval those decisions in which courts have

applied the Rogers test where “a trademark is used not to designate a work’s source,

but solely to perform some other expressive function.” Id. at 154:

        Thus, the Ninth Circuit applied the Rogers test in the “Barbie Girl” song
         case, Mattel, Inc. v. MCA Records, Inc., 296 F.3d 894 (9th Cir. 2002),
         because “the band’s use of the Barbie name was not as a source identiﬁer:
         The use did not speak to the song’s origin.” 599 U.S. at 154 (punctuation
         omitted).

        The Eleventh Circuit dismissed the Alabama football uniform painting
         case after the artist used the trademarked uniforms “solely to
         ‘memorialize’ a notable event.” Id. (citing Univ. of Ala. Bd. Of Trustees v.
         New Life Art, Inc., 683 F.3d 1266, 1279 (11th Cir. 2012)).

        And a New York court dismissed a claim regarding a character’s use of the
         “Louis Vuitton” trademark in the movie The Hangover: Part II, because
         “the ﬁlm was not using the Louis Vuitton mark as its ‘own identifying
         trademark.’” 599 U.S. at 154 (citing Louis Vuitton Malletier S. A. v. Warner
         Bros. Entertainment Inc., 868 F. Supp. 2d 172 (S.D.N.Y. 2012)).




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    The Supreme Court went on to note that “[t]he same courts, though, routinely

conduct likelihood-of-confusion analysis, without mentioning Rogers, when

trademarks are used as trademarks—i.e., to designate source.” 599 U.S. at 155

(emphasis added). So in cases where the defendant was committing trademark

infringement by adopting its own mark and using it “at least in part for source

identiﬁcation” as a trademark, the Rogers test did not apply. Id. (discussing Harley-

Davidson, Inc. v. Grottanelli, 164 F.3d 806, 812–13 (2d Cir. 1999) (use of a parody

logo by a mechanic was “trademark use,” because it “promotes his repair and parts

business”) and Tommy Hilﬁger Licensing, Inc. v. Nature Labs, LLC, 221 F. Supp. 2d

410, 412 (S.D.N.Y 2002) (use of a parodic dog toy named Tommy Holedigger was

used at least in part as source identiﬁcation) (emphasis added)).

    Further, the Supreme Court explained that whatever else Rogers’ merit may

be—an issue on which it took no position—“it has always been a cabined doctrine”

that should have “applied only to cases involving ‘non-trademark uses’” and “not

insulated from ordinary trademark scrutiny the use of trademarks as trademarks ‘to

identify or brand a defendant’s goods or services.’” Id. at 155–56. Indeed, the Court

noted that “few cases would even get to the likelihood-of-confusion inquiry if all

expressive content triggered the Rogers ﬁlter, [thereby erroneously making] the

Rogers exception . . . the general rule, in conﬂict with courts’ longstanding view of

trademark law.” Id. at 158.


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    Accordingly, the Court held that “Rogers does not apply when the challenged

use of a mark is as a mark.” Id. at 163. In those situations, “[w]hen a mark is used as

a mark (except, potentially, in rare situations), the likelihood-of-confusion inquiry

does enough work to account for the interest in free expression.” Id. at 159. When

defendants engage in those uses, “the First Amendment does not demand a

threshold inquiry like the Rogers test.” Id.

II. This Court’s summary judgment order turned on the Rogers-based First
    Amendment defense that no longer applies.

    This new pronouncement by the Supreme Court is signiﬁcant because it calls

into serious question the rationale on which this Court relied to grant summary

judgment for the Defendants. The intervening change in the law resulting from the

Jack Daniel’s decision and its progeny is suﬃcient to require vacatur of this Court’s

judgment dismissing the complaint.

    A. Defendants used “Floribama Shore” and “MTV Floribama Shore” as
       trademarks and source identiﬁers.

    Plaintiﬀs hold a valid, registered and incontestable trademark for “Flora-

Bama,” which they have used in connection with their Flora-Bama branded

entertainment establishments and related goods and services for decades. (MSJ

Order at 1, 2, 16.) Defendants adopted “MTV Floribama Shore” and its more

common usage of “Floribama Shore” as the title of their TV show that they

developed, produced and distributed. Id. at 2, 4–5.



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    Under the Jack Daniel’s decision and its progeny, there can be little dispute

that MTV Floribama Shore and Floribama Shore are not only the titles of an

expressive work, but have both been used by Defendants as a mark—the scenario

that the Supreme Court and other courts have now made clear is no longer

governed by Rogers, but rather the traditional likelihood of confusion factors.

    The record reveals Defendants’ use of their TV show titles as a trademark.

Plaintiﬀs point to several related reasons and pieces of evidence:

    1. The Court found that “most potential viewers in the national audience

surely understand the title MTV Floribama Shore to denote another show in the

Jersey Shore line.” (MSJ Order at 20.) That connection to the Jersey Shore franchise

signiﬁes Defendants’ use of their title as a trademark to denote and identify the

Defendants as the source of both Jersey Shore and Floribama Shore TV shows.

    According to Viacom’s 30(b)(6) representative and executive producer of the

MTV Floribama Shore TV show, Jackie French: “The whole point of Floribama

Shore [show] was to imitate [the] Jersey Shore [show].” (Ex. 2, MSJ Opp. Ex. 4 at

132:4–6.)1

    2. Jersey Shore, from which the Floribama Shore show is derived, is itself a

registered trademark by Viacom used to denote the source of a TV show. (Ex. 3,



1
 For convenience, only those pages from Plaintiffs’ summary judgment opposition
papers that are cited here are attached here.

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USPTO Registrations Nos. 4224371, ’372 (registrations cover “entertainment

services in the nature of continuing program series . . . provided through cable

television”)).

    3. Defendants intentionally included “MTV” in “MTV Floribama Shore” as

a trademark to denote and identify MTV (a Viacom network) as the source of the

TV show. MTV is a registered trademark both in standard characters (MTV) and as

a design mark          . (Ex. 4, USPTO Reg. No. 1955606 for “television and

entertainment services,” Nos. 4150599 & 3939707, for “entertainment content

featuring . . . television programs” and “television broadcasting services”.)

    4. The 30(b)(6) representative for the two 495 Defendants admitted under

oath that they consider “MTV Floribama Shore to be a trademark.” (Ex. 5, MSJ

Opp. Ex. 55, Tappon Dep. 70:5–10.)

    5. In the closing credits of every episode of MTV Floribama Shore,

Defendants explicitly represent that “MTV,” “MTV Floribama Shore” and all

related titles and logos are trademarks of Viacom. Indeed, Viacom’s 30(b)(6)

representative admitted that it considers “Floribama” and “Floribama Shore” to be

“related titles” to “MTV Floribama Shore.” (Ex. 2, French Dep. 34:24–37:3.)

    6. Defendants used “Floribama Shore” as a term in social media to promote

the TV show—as a source identiﬁer or trademark for the show. (Ex. 2, French Dep.

41:3–42:5, 91:7-13.)


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    7. Defendants admitted that they would object to a television show with a

name similar to MTV Floribama Shore, because in their view, it could cause

confusion among TV viewers as to the source of the show and whether it was

aﬃliated with Defendants and their show:

         Tappon testiﬁed that if NBC put out a TV show called “NBC Floribama
          Shore,” Viacom or 495 would object because another TV show with a
          similar name would be confusingly similar to Defendants’ “MTV
          Floribama Shore.” (Ex. 5, Tappon Dep. 71:22–72:9.)

         French testiﬁed that if there were a music TV show with the name
          “Floribama” in the title, she would question whether that show should be
          aired because people might think there’s some connection between that
          show and MTV Floribama Shore. (Ex. 6, MSJ Opp. Ex. 1, French Dep.
          74:13–75:14.)

         French also testiﬁed that if Netﬂix put out a show without MTV’s
          authorization entitled “Florbama Shore,” Viacom would likely object
          because “there might be confusion as to whether Netﬂix’s show would be
          associated . . . with Viacom’s TV show Floribama Shore.” (Ex. 2, French
          Dep. 42:12–43:14.)

        Obviously, if Defendants were using “MTV Floribama Shore” solely in an

non-trademark expressive manner and not at least in part to designate Viacom,

MTV, and 495 as the source of the show, there would have been no reason to:

(a) use the “MTV” registered trademark in the title; (b) put consumers on notice

that “MTV Floribama Shore” and all related titles “are trademarks of Viacom”;

(c) spend time and eﬀort promoting the “Floribama Shore” brand online; (d) be




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concerned that confusion might result from another TV show titled something like

“Florbama Shore.”

      The fact is, the Defendants did use “Florabama Shore” as a source identiﬁer,

and therefore, under the new Jack Daniel’s case, they no longer are entitled to a

Rogers v. Grimaldi-based First Amendment defense.

    B. Under Jack Daniel’s and its progeny, the Rogers-based First
       Amendment defense is inapplicable and traditional likelihood of
       confusion factors govern.

    As noted, the Supreme Court made clear that a defendant’s use of a mark as a

trademark means that the Rogers-based First Amendment defense is inapplicable.

599 U.S. at 159. Indeed, the Court has made clear that just because the “use of a

mark has other expressive content—i.e.., because it conveys some message on top

of source,” like the “Floribama Shore” mark, the Rogers test still does not apply. Id.

at 157. This is where the Supreme Court “most dramatically part[s] ways with the

Ninth Circuit, which thought that because Bad Spaniels ‘communicates a

humorous message,’ it is automatically entitled to Rogers’ protection. On that view,

Rogers might take over much of the world.” Id. at 158 (citation omitted).

    Indeed, the Supreme Court explicitly rejected the applicability of Rogers to the

name of a band—analogous to the title of a TV show—that “‘that not only

identiﬁes the band but expresses a view about social issues.’” Id. (quoting Matal v.

Tam, 582 U.S. 218, 245 (2017) (band named “The Slants”)). Similarly, even though


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VIP was engaged in parodic expression making fun of the Jack Daniel’s mark

through its Bad Spaniels dog toy, such expression “does not justify use of the Rogers

test,” even if the expression may “properly ﬁgure in assessing likelihood of

confusion” under the “standard trademark analysis.” Id. at 161.

    New decisions applying Jack Daniel’s—including from both the Second and

Ninth Circuits—have made held that even where defendant’s use may involve

certain expression, if the accused mark and/or title of creative work is also being

used at least in part as a trademark, then a Rogers-based First Amendment defense

is inapplicable, and the traditional likelihood of confusion factors apply.

    For example, in Vans, Inc. v. MCSHF Prod. Studio, Inc., 88 F.4th 125 (2d Cir.

2023), the defendant, an art collective, created and sold an “exceedingly wavy”

version of plaintiﬀ Vans’s “Old Skool” shoe. Id. at 128. The defendant argued that

its knockoﬀ shoe was a parody that mocked and commented on the “consumerism

inherent in sneakerhead culture.” Id. But, applying Jack Daniel’s, the Second

Circuit (which had originally issued Rogers) held that, “even if an alleged infringer

used another’s trademarks for an expressive purpose, special First Amendment

protections did not apply if the trademarks were used for source identiﬁcation.” Id.

Accordingly, “no special First Amendment protections apply,” and the district

court was right to enter a preliminary injunction that was based on the traditional

likelihood of confusion factors alone. Id. at 128, 133–34.


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    While Vans did not involve use of the allegedly infringing mark as the title of an

expressive work—like Defendants’ TV show title—several other post-Jack Daniel’s

cases have addressed that scenario and found each of the titles of expressive works

were used marks and therefore, the Rogers-based First Amendment defense had no

applicability. E.g., Punchbowl, Inc. v. AJ Press, LLC, 90 F.4th 1022 (9th Cir. 2024);

Activision Publ’g, Inc. v. Warzone.com LLC, Ex. 7 (unreported, full discussion

below); HomeVestors of Am., Inc. v. Warner Bros. Discovery, No. CV 22-1583-RGA,

2023 WL 6880341, at *5 (D. Del. Oct. 18, 2023), report and recommendation adopted,

2023 WL 8826729 (D. Del. Dec. 21, 2023).

    In Punchbowl Inc. v. AJ Press, LLC, the plaintiﬀ used the “Punchbowl”

trademark as the brand name for its technology company that developed online

invitations and greeting cards, whereas defendant used “Punchbowl News” as the

title of its news publication focusing on American government and politics. (In

Washington D.C., “Punchbowl” is the Secret Service nickname for the Capitol.)

Punchbowl Inc., 60 F.4th at 1025–26. Thus, like Defendants here, the Punchbowl

defendant used the mark at issue to tie the theme of its expressive work to a

“geographic location.” Id. at 1026. The Ninth Circuit initially aﬃrmed summary

judgment based on the Rogers test because the defendant’s publication “constituted

protected expression and was not explicitly misleading as to its source.” Id. at 1026.




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    However, the Ninth Circuit stayed its own mandate in light of Jack Daniel’s

and then ultimately withdrew its opinion and issued a new decision, which rejected

any applicability of a Rogers-based First Amendment defense, vacated the lower’s

court’s dismissal, and remanded for application of the traditional likelihood of

confusion factors. Id. at 1029–32. The Ninth Circuit further held that: (a) Jack

Daniel’s “altered the law that governed” when it made it prior ruling; (b) regardless

of its expressive content, defendant used “Punchbowl” as a trademark to identify

its news products; (c) it was irrelevant that defendant did not use “Punchbowl” as

parody or refer to plaintiﬀ; and (d) media defendants do not warrant a diﬀerent

standard. Id. at 1031–32.

    In Activision Publ’g, Inc. v. Warzone.com LLC, the plaintiﬀ sued for declaratory

relief that its use of “Warzone” and “Call of Duty Warzone” as the titles of a video

game did not infringe Defendant’s video game title “Warzone.” Activision Publ’g,

Inc. v. Warzone.com LLC, 621 F. Supp. 3d 1090 (C.D. Cal. 2022). Defendant

counterclaimed for trademark infringement. Id. Initially, the district court

dismissed Defendant’s infringement counterclaims due to a Rogers-based First

Amendment defense. Id. Following the Jack Daniel’s decision, however, the Ninth

Circuit remanded the matter back to trial court for further proceedings consistent

with Jack Daniel’s. No. 22-55831, 2023 WL 7118756 (9th Cir. Oct. 25, 2023).




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       Just a few weeks ago, the district court applied Jack Daniel’s and denied the

motion to dismiss, ruling that the “Rogers test does not apply because Plaintiﬀ is

using ‘WARZONE’ to designate itself as the source of its game . . . —in other

words, Plaintiﬀ is using ‘WARZONE’ as a trademark.” Ex. 7, Activision, No. 2:21-

cv-03073 at 6-8 (C.D. Cal. Apr. 11, 2024).2

       In HomeVestors of Am., Inc. v. Warner Bros. Discovery, dueling TV show titles

both contained the term “Ugliest House.” 2023 WL 8826729, at *1. The court

rejected defendant’s argument that use of a mark in a title of a TV show or for an

expressive work is somehow “inherently not source identifying” and therefore still

subject to the Rogers test. Id. The court also rejected the argument that just because

defendant’s use of its TV show title may have had an expressive element, Jack

Daniel’s made clear that “a mark might serve multiple functions (i.e., both

expressive and source-identifying uses) at the same time” and as a result, should

not warrant the Rogers test. See also Davis v. Amazon.com, Inc., No. 2:21-cv-02090-

JVS, 2023 WL 8113299, *5 (C.D. Cal. Nov. 2, 2023) (“While a source-identifying

ﬁlm title may have an expressive aspect, it may no longer seek shelter under Rogers

from the Lanham Act likelihood-of-confusion test following Jack Daniel’s”;

dismissing the case based solely on the traditional likelihood of confusion factors);

MGA Entertainment Inc. v. Harris, No. CV20-11548, 2023 WL 6194387 (C.D. Cal.


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    The decision is not yet on Westlaw.

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Sept. 15, 2023) (where the court, following Jack Daniel’s, vacated the judgment

based on a Rogers-based First Amendment defense and granted a new trial where

defendant’s use of the mark had expressive elements but also constituted use as a

mark).

    Defendants here should take no comfort in the Eleventh Circuit’s ruling in this

case, aﬃrming summary judgment, because the Eleventh Circuit speciﬁcally held

that its decision was based on the Rogers test, and that justiﬁed aﬃrmance. MGFB

Properties, Inc. v. Viacom Inc., 54 F. 4th 670 (11th Cir. 2022). The Eleventh Circuit’s

decision is no longer good law.

    Also, it is noteworthy that the Eleventh Circuit observed that “Defendants

added ‘MTV’ [to the Floribama title] to tie the series to the network and ‘Shore’ to

tie the series to the Shore franchise.” Id. at 675. This is a ﬁnding that the “MTV

Floribama Shore” title is associated with the source—MTV, a trademarked

name—and the Jersey Shore franchise. Under Jack Daniel’s, that takes “Floribama

Shore” out of Rogers land.

    C. Applying Jack Daniel’s and its progeny here, the Rogers-based First
       Amendment defense has no applicability and under traditional
       likelihood of confusion factors, the Court has already ruled summary
       judgment should be denied.

    Based on Jack Daniel’s and its progeny described above, the law is now clear

that—no matter whatever expressive elements may be present in “MTV Floribama

Shore—that mark was also clearly used as a trademark to denote and identify the

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Defendants as the source of the TV show. As a result, Defendants’ Rogers-based

First Amendment defense is inapplicable as a matter of law to this case and

Plaintiﬀs deserve a trial on their claims.

    When granting summary judgment, the Court found that, as to the Rogers-

based First Amendment defense, “[t]he issue is close and not squarely controlled

by prior decisions.” (ECF No. 188, MSJ Order at 2.) The Court held that “[t]he

plaintiﬀs’ showing” on a likelihood of confusion between the two marks, “while not

strong, would be suﬃcient to withstand summary judgment in an ordinary case”—a

case where Rogers was not potentially at issue. Id. at 6. But the Court felt that the

presence of Defendants’ artistic expression “in the mix” was suﬃcient to tip the

balance in favor of summary judgment. Id. at 6.

    Again, the Court speciﬁcally ruled “the showing [by plaintiﬀs] would be

suﬃcient to withstand summary judgment, were it not for the necessity to balance

the showing against First Amendment interests.” Id. at 19. That necessity is no

longer present.

    In its opinion, the Court recounted a summary of Rogers, ﬁnding that the case

“establishes a two-part test. In cases governed by the test, the senior user can

prevail only if the junior use (1) has no artistic relevance to the underlying work or

(2) explicitly misleads as to the source or content of the work.” Id. at 7. The Court




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discussed several examples of how the Rogers test has been elaborated on and

developed by other courts. Id. at 7–15.

    While the Court considered the seven-factor “likelihood of confusion” test set

out in Fla. Int’l Univ. Bd. of Trustees v. Fla. Nat. Univ., 830 F.3d 1242, 1255 (11th

Cir. 2016), again, the Court made clear that Plaintiﬀs’ factual “showing would be

suﬃcient to withstand summary judgment, were it not for the necessity to balance the

showing against First Amendment interests.” Id. at 19 (emphasis added). The Court

reiterated that honoring the “balance mandated by Rogers, Cliﬀs Notes, and, of

controlling importance here, University of Alabama compels the conclusion that the

defendants’ use of Floribama Shore in the title of their show and attendant

marketing materials does not infringe the plaintiﬀs’ mark.” Id. at 20–21.

    However, now that the Supreme Court has held in Jack Daniel’s that “[w]hen a

mark is used as a mark . . . the likelihood-of-confusion inquiry does enough work to

account for the interest in free expression” and “the First Amendment does not

demand a threshold inquiry like the Rogers test,” 599 U.S. at 159, the “close issue”

this Court found is no longer close.

    The law is changed. Had the Supreme Court’s holding been enunciated prior

to this Court’s decision, this Court’s analysis would have likely have come out very

diﬀerently. Summary judgment would very likely have been denied.




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    For that reason, Plaintiﬀs ask the Court to set aside the judgment and reopen

the action. At the very least, this Court should consider re-hearing Defendants’

summary judgment motion in light of Jack Daniel’s and subsequent decisions

applying it.

III. Justice requires setting aside the judgment and reopening this action, and
     the Court has the power to do so.

    Plaintiﬀs seek relief from the judgment under Rule 60(b), subparts (5) and (6).

    Decisions under Rule 60(b) are fact- and law-intensive, and a District Court

enjoys broad discretion to grant or deny them. Twelve John Does v. District of

Columbia, 841 F.2d 1133, 1138 (D.C. Cir. 1988) (“the district judge, who is in the

best position to discern and assess all the facts, is vested with a large measure of

discretion in deciding whether to grant a Rule 60(b) motion”). Consequently,

appeals of Rule 60(b) decisions are reviewed for abuse of that discretion. Farris v.

United States, 333 F.3d 1211, 1216 (11th Cir. 2003).

    A. Rule 60(b)(5)

    Under Rule 60(b)(5), “[t]he court may relieve a party or its legal representative

from a ﬁnal judgment . . . [if ] applying it prospectively is no longer equitable.” To

qualify for the relief provided by Rule 60(b)(5), the moving party must show “a

signiﬁcant change of circumstances [which] warrants revision of the decree.”

Flexiteek Ams., Inc. v. Plasteak, Inc., No. 08-60996-CIV, 2012 WL 5364263, at *5

(S.D. Fla. Sep. 10, 2012) (quoting Rufo v. Inmates of Suﬀolk Cty. Jail, 502 U.S. 367

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(1992)); Life Techs., Inc. v. Promega Corp., 189 F.R.D. 334, 336 (D. Md. 1999) (the

rule “gives the Court equitable power to relieve a party from a judgment when, in

light of changed circumstances, it is no longer equitable that the judgment should

have prospective application”).

    The “equitable leg of subsection (b)(5) . . . allows relief from judgments and

orders only to the extent that their application would be ‘prospective.’” Id. at *6.

    “[O]n an adequate showing the courts will provide relief if it no longer is

equitable that the judgment be enforced,” including because of “a change in the

decisional law.” § 2863 Judgment Satisﬁed or No Longer Equitable, 11 Fed. Prac. &

Proc. Civ. § 2863, & n.31 (3d ed.) “Indeed, in a ﬁve-to-four decision, the Supreme

Court suggested that . . . the courts should apply Rule 60(b)(5) ﬂexibly.” Id. (citing

Horne v. Flores, 557 U.S. 433 (2009)).

    The ruling in the Jack Daniel’s decision provides a signiﬁcant change in

circumstances and decisional law, such that continuing to apply the judgment

prospectively—allowing Defendants to continue to violate Plaintiﬀs’ trademark

rights based on a no-longer-viable First Amendment defense—is no longer fair or

equitable. Plaintiﬀs here had sought a permanent injunction to bar Defendants’

continuing trademark infringement, which—if it had been granted—would still be

in eﬀect today. Reversal of the judgment under Rule 60(b)(5) is warranted.




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    B. Rule 60(b)(6)

    Plaintiﬀs also bring this motion under Rule 60(b)(6), the catch-all, which

permits relief from a judgment for “any other reason that justiﬁes relief.”

    While Plaintiﬀs acknowledge that (b)(6) relief requires “extraordinary

circumstances,” Griﬃn v. Swim-Tech Corp., 722 F.2d 677, 680 (11th Cir. 1984), the

Supreme Court has made clear that a change in controlling law could justify relief

under Rule 60(b)(6). Kemp v. United States, 142 S. Ct. 1856, 1865 (2022)

(Sotomayor, J., concurring) (“I join the Court’s opinion with the understanding

that nothing in it casts doubt on the availability of Rule 60(b)(6) to reopen a

judgment in extraordinary circumstances, including a change in controlling law”)

(citing Buck v. Davis, 580 U.S. 100, 126, 128 (2017). Other courts are in accord.

E.g., Venoco, Ltd. Liab. Co. v. Plains Pipeline, Ltd. P’ship, No. 21-55193, 2022 WL

1090947, at *2 (9th Cir. Apr. 12, 2022) (a California Court of Appeals’ decision

“constituted a change of law for the purposes of Rule 60(b)(6)”); Bynoe v. Baca,

966 F.3d 972, 983 (9th Cir. 2020) (A ‘clear and authoritative’ change in the law

governing the judgment may present extraordinary circumstances” under Rule

60(b)(6)); Flexiteek Ams., Inc., 2012 WL 5364263, at *7 (“A clear-cut change in the

law is a necessary, but not suﬃcient, basis for granting relief” under Rule 60(b)(6));

CMI Corp. v. Cedarapids, Inc., 149 F. Supp. 2d 1284, 1288 (W.D. Okla. 2001) (a

change in case law was proper basis under Rule 60(b)(6)).



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    “The ﬂexibility embedded in Rule 60(b)(6)’s timing requirement preserves its

purpose as a ‘grand reservoir of equitable power,’ available as a vehicle for

‘vacat[ing] judgments whenever such action is appropriate to accomplish justice.’”

Bynoe v. Baca, 966 F.3d 972, 980 (9th Cir. 2020) (citing Hall v. Haws, 861 F.3d 977,

987 (9th Cir. 2017)) (punctuation in original). Bynoe went on note that the

“timeliness” of a Rule 60(b) motion is usually measured by the date of the

judgment, except in cases where “a change in law is the basis for the motion.” Id.

Where that is the case, “valid grounds for reconsideration may arise long after a

ﬁnal judgment has been entered.” Id.

    Courts often consider six factors to determine whether Rule 60(b)(6) relief is

appropriate, which list is “neither rigid nor exhaustive:” “(1) the nature of the

change in the law; (2) the movant’s diligence; (3) the parties’ reliance interests in

the case’s ﬁnality; (4) the delay; (5) the relationship between the original judgment

and the change in the law; and (6) comity.” Venoco, 2022 WL 1090947, at *2.

    Nature of change in the law—Here, the nature of the change in law caused by

the Jack Daniel’s decision was so signiﬁcant that the Ninth Circuit described its

impact as having “altered the law” “[t]o the point that our precedents [which]

previously held that Rogers applies when an expressive mark is used as a mark—and

that the only threshold for applying Rogers was an attempt to apply the Lanham Act




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to something expressive—the Supreme Court has now made clear that this is

incorrect.” Punchbowl, 90 F.4th at 1031.

    Plainly, the law has changed, and the drumbeat of recent cases following Jack

Daniel’s has underscored that. Neither the Eleventh Circuit nor any District Court

in the Circuit appear to have relied on Jack Daniels or interpreted this Circuit’s

version of the Rogers test yet. This Court would be the ﬁrst in the Circuit to do so.

    No detrimental reliance on ﬁnality—Defendants have not created any new TV

shows using the “Floribama Shore” marks. Therefore, there can be no

determinantal reliance on the ﬁnality of this Court’s judgment. In fact, it appears

the infringing show was canceled in August 2022. (IMDb database, available at

https://www.imdb.com/news/ni63737648/.)See Venoco, 2022 U.S. App. LEXIS

9851 at *4 (“abstract interest in ﬁnality” is not relevant, but evidence of “reliance

interests”).

    Diligence/Delay—Plaintiﬀs acted diligently with respect to pursuit of relief.

Not only did they appeal the judgment to the Eleventh Circuit, but in January 2024,

Plaintiﬀs put Defendants on notice of their intention to ﬁle this motion. Further,

given the cancellation of the TV show in August 2022—before the Jack Daniel’s

decision was issued—any delay might Defendants claim in the ﬁling of this motion

could not have materially prejudiced them. E.g., Daker v. Humphrey, No. 5:12-cv-

00461-CAR-CHW, 2018 WL 11257870, at *1 (M.D. Ga. Aug. 31, 2018) (“no bright-


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line limitation period governs motions made under Rule 60(b)(6)”); Bynoe v. Baca,

966 F.3d at 980 (“a timely 60(b)(6) motion does not need to be ﬁled within one year

after the ‘ﬁnal judgment, order, or proceeding,’” but “only within a “reasonable

time” from when the Plaintiﬀs has valid grounds to assert a challenge).

    Defendants can also assert no detriment based on gamesmanship or

harassment. Plaintiﬀs have not beneﬁted from any delay in bringing this motion.

    Relationship between judgment and change in law—Looking at the change in law,

there is a direct relationship between the Jack Daniel’s decision and the Court’s

ruling in which it did not—and obviously could not—consider the Supreme

Court’s enunciation of the law that a Rogers-based First Amendment defense does

not apply when Defendants use a mark as a mark as they did here.

    Comity—Finally, the principle of comity also weighs in favor of granting Rule

60(b)(6) relief for Plaintiﬀs. Interests in comity are obviously furthered by a

uniform interpretation and application of the interplay between the First

Amendment and trademark law, especially where this Court recognized that its

holding was “not squarely controlled by prior decisions.” (MSJ Order at 2.)

    Accordingly, whether analyzed under FRCP 60(b)(5) or 60(b)(6), there are

ample grounds for this Court to vacate its prior judgment, reopen this action, and

put this case back on a path toward trial. The interests of justice would be served by




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doing so, and would not be served by continuing to maintain a judgment against the

Plaintiﬀs under precedent that is no longer the law of the land.

                                       Respectfully submitted,

                                       /s/ William F. Cash III
Dated: May 3, 2024                     William F. Cash III (FBN 68443)
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                     CERTIFICATE UNDER LOC. R. 7.1(B)

    The parties conferred on the relief sought on January 25 and 26, 2024.

Defendants did not consent to the relief.

                                        /s/ William F. Cash III


                     CERTIFICATE UNDER LOC. R. 7.1(F)

    The total word count of this entire motion is 5,815 words and therefore this

motion is within the word limit set by the Local Rules.

                                        /s/ William F. Cash III




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